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AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                          District of
                                                       __________     Massachusetts
                                                                    District of __________

                   United States of America                             )
                              v.                                        )
                      BRUCE SARTWELL
                                                                        )      Case No.      19-MJ-06551-MPK
                                                                        )
                              Defendant                                 )

                                        ORDER OF DETENTION PENDING TRIAL
                                                        Part I - Eligibility for Detention

     Upon the

               ✔ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
               u
               u Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

  u A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
         u (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
             u (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             u (b) an offense for which the maximum sentence is life imprisonment or death; or
             u (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             u (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                jurisdiction had existed, or a combination of such offenses; or
             u (e) any felony that is not otherwise a crime of violence but involves:
                (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
         u (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
         u (3) the offense described in paragraph (2) above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
         u (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
           defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

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   u B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         u (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         u (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         u (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
            or more is prescribed;
         u (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
            imprisonment of 20 years or more is prescribed; or
         u (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   u C. Conclusions Regarding Applicability of Any Presumption Established Above

            u The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
              ordered on that basis. 3DUW,,,QHHGQRWEHFRPSOHWHG

                OR

            u The defendant has presented evidence sufficient to rebut the presumption, but after considering the
              presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ✔ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
   u
     the safety of any other person and the community.

   u By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
     the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       ✔
       u   Weight of evidence against the defendant is strong
       u   Subject to lengthy period of incarceration if convicted
       ✔
       u   Prior criminal history
       u   Participation in criminal activity while on probation, parole, or supervision
       ✔
       u   History of violence or use of weapons
       u   History of alcohol or substance abuse
       u   Lack of stable employment
       u   Lack of stable residence
       u   Lack of financially responsible sureties


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        u   Lack of significant community or family ties to this district
        u   Significant family or other ties outside the United States
        u   Lack of legal status in the United States
        u   Subject to removal or deportation after serving any period of incarceration
        u   Prior failure to appear in court as ordered
        u   Prior attempt(s) to evade law enforcement
        u   Use of alias(es) or false documents
        u   Background information unknown or unverified
        u   Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:
     The court finds that the government has met its burden to prove by clear and convincing evidence that no conditions will
 reasonably assure the safety of any person or the community.
     In his favor, Mr. Sartwell has very strong family ties and ties to this community, as he is married with two children, he appears to be
 a devoted husband and father, and he has many supporters who wrote remarkable letters to the court attesting to his good character.
 He has not been convicted of a crime in the past ten years, although he has convictions from 1996 for assault and battery with a
 dangerous weapon, for which he received probation.
     He is the President of the East Bridgewater/Brockton chapter of the Outlaws MC gang. The government alleges that "trouble is
 brewing" between this gang and another. Although the court specifically requested additional information about Mr. Sartwell's activities
 in this organization and the alleged trouble that is looming from the government, the government did not provide any.
     The court's decision to detain is based on the particular circumstances of this case, where Mr. Sartwell is charged with unlawful
 possession of an unregistered firearm. He came to the government's attention because a suspicious package was delivered to his
 home, which he admitted he had ordered from China. It turned out to be a silencer. This is one of 65 packages addressed to him from
 Asia since 2018, at least some of which appear to be suspicious and connected to firearms. He is a felon and may not possess
 firearms. When the police searched his home, they found body armor; a completed, working AR-15 rifle that was hidden in a
 compartment in Mr. Sartwell's garage, which is a "ghost" gun, that is, homemade; two rifle magazines capable of holding 30 rounds of
 ammunition; partial parts for another AR-15; 153 rounds of high velocity ammunition; milling plates and other tools that could be used
 to manufacture "ghost" guns; a "how to" guide for building an AR-15; and another silencer. There is evidence that recently someone
 searched on Mr. Sartwell's computer for "bump stocks" and articles related to the Las Vegas shooting and how to make a gun fire like
 a machine gun.
     If Mr. Sartwell had simply illegally possessed a firearm, the court might find that release was appropriate. But here, the firearm,
 which was an AR-15, a gun that has been used in mass shootings, was stored in a hidden compartment in a bar that Mr. Sartwell had
 built, and he also had large-capacity magazines, 153 rounds of high velocity ammunition, two silencers, and body armor. These facts
 are very concerning and suggest that Mr. Sartwell, who is not permitted to possess firearms, was preparing for some violent act:
 otherwise, what was he doing with these items?
     The court finds that on balance there are no conditions that can reasonably assure the safety of the community or any person.




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date:                 11/26/2019                                                       /s/ Page Kelley
                                                                                 United States Magistrate Judge




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